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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

EXPRESS GOLD CASH, INC.,
                                                            NOTICE OF APPEARANCE
                              Plaintiff,

                       v.                                   Civil Action No. 1:22-cv-352

C.J. ENVIRONMENTAL, INC. d/b/a
CASHFORGOLDUSA.COM,
EMMA JOHNSON INC. d/b/a
WEALTHYSINGLEMOMMY.COM,
STEER DIGITAL LTD, DANIEL BROWN
and ADAM TOUTAIN,

                               Defendants.


           PLEASE TAKE NOTICE that Edward P. Hourihan, Jr., Esq., of Bond, Schoeneck

& King, PLLC hereby appears as counsel of record on behalf of Defendant C.J.

Environmental, Inc. d/b/a cashforgold.com, in the above-captioned matter.



Dated: May 18, 2022
                                           Respectfully submitted,

                                           BOND, SCHOENECK & KING, PLLC


                                           By:    /s/ Edward P. Hourihan, Jr.
                                                  Edward P. Hourihan, Jr.
                                           Attorneys for Defendant C.J. Environmental,
                                             Inc. d/b/a cashforgold.com
                                           350 Linden Oaks, Third Floor
                                           Rochester, New York 14625
                                           Telephone: (585) 362-4700
                                           E-mail: ehourihan@bsk.com




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